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UNITED STA'I`ES DISTRICT COURT
MIDDLE DlSTRlCT OF FLORIDA
ORLANDO DlVISlON
MAXIMA LUNA,
Plaintiff,
v. Case No: 6:14-cv-574-Orl-18TBS
VERIZON WIRELESS PERSONAL
COMMUNICATIONS, L.P. and
RECEIVABLES PERFORMANCE
MANAGEMENT, LLC,

Defendants.

 

ORDER

On .Ianuary 14, 2015 the P|aintii`f`, MAXIMA LUNA and Dei`endant, VERIZON
WIRELESS PERSONAL COMMUNICA'I`|ONS. L.P. d/b/a VERIZON WIRELESS filed ajoint
stipulation for dismissal with prejudice of Dei`endant VERIZON WIRELESS (Doc. No. 20).
According,ly, pursuant to Fed.R.Civ.P. 4l(a), it is

ORDERED that Defendant VERIZON WIRELESS PERSONAL COMMUNICAT|ONS.
I.. P. d/b/a VERIZON WlRELESS is DlSMlSSED from this cause with prejudice. Each party to
bear their own attorney`s fees and eosts. The Clerk 01` the Court is directed to terminate the above

named defendant from the case.

DONE AND ORDERED at Orlando. Florida. this /S/dayoi`.lanuary. 2015.

…

\ G. KENDALL sHARP

 

SENIOR UNITED STATES DISTRIC'I` JUDGE
Copics t0:

Counsel ot` Rceord

